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                                                                    United States Bankruptcy Court
                                                                        Southern District of Texas

                                                                           ENTERED
                      IN THE UNITED STATES BANKRUPTCY COURT             February 10, 2023
                        FOR THE SOUTHERN DISTRICT OF TEXAS              Nathan Ochsner, Clerk
                                 HOUSTON DIVISION

IN RE:                                  §
                                        §       CASE NO: 20-32643
ENTREC CORPORATION, et al.,             §
                                        §       CHAPTER 15
         Debtors.                       §
                                        §
WOLVERINE ENERGY AND                    §
INFRASTRUCTURE INC.,                    §
                                        §
         Plaintiff,                     §
                                        §
VS.                                     §       ADVERSARY NO. 20-3455
                                        §
ENT CAPITAL CORP., et al.,              §
                                        §
         Defendants.                    §

                                     ORDER


      Costs to ENTREC are denied.


         SIGNED 02/10/2023


                                            ___________________________________
                                                          Marvin Isgur
                                                 United States Bankruptcy Judge




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